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   TECHNOLOGIES LIMITED and Q CYBER
 7 TECHNOLOGIES LIMITED

 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                    OAKLAND DIVISION

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13                                               CYBER TECHNOLOGIES LIMITED’S
                 Plaintiffs,
                                                 ADMINISTRATIVE MOTION TO FILE
14                                               UNDER SEAL
           v.
15                                               Judge: Hon. Phyllis J. Hamilton
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,
                                                 Action Filed: 10/29/2019
17               Defendants.

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       DEFENDANTS’ ADMINISTRATIVE                                     Case No. 4:19-cv-07123-PJH
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies
 2 Limited and Q Cyber Technologies Limited submit this Administrative Motion to File Under Seal

 3 (1) certain language in the Declaration of Aaron Craig filed concurrently with this Motion; (2)

 4 certain language in Defendants’ Opposition to Plaintiffs’ Motion for Partial Summary Judgment

 5 (the “Opposition”); (3) Exhibits A and B to the Declaration of Terrence McGraw in Support of the

 6 Opposition; (4) portions of the Declaration of Tamir Gazneli in Support of the Opposition; and (5)

 7 certain language in paragraphs 10-11 and 14-16 to the Declaration of Joseph A. Akrotirianakis in

 8 Support of the Opposition (the “Akro. Declaration”) and Exhibits A-F, H-J, and L-O to the Akro.

 9 Declaration (collectively, the “Sealed Documents”). The Motion is based upon the points and

10 authorities set forth herein, as well as those facts attested to in the Craig Declaration.

11 I.       BACKGROUND
12          The Court stayed discovery in this case shortly after Plaintiffs served their First Set of RFPs
13 on June 4, 2020. (Craig. Decl. ¶ 2.) After the stay ended, the Court instructed the parties to meet

14   and confer regarding the effect of Israeli law on Plaintiffs’ RFPs. (Id.) The parties met and
15   conferred but could not reach a resolution, forcing Defendants to file a motion for protective order
16   on March 30, 2023. (Id.) On November 15, 2023, the Court denied NSO’s motion for protective
17   order. (Dkt. No. 233.) The parties have since conducted substantial discovery, which has required
18   NSO to produce certain highly confidential information and materials in accordance with Israeli
19   law. (Craig Decl. ¶ 2.) For information about additional matters relevant to this Motion, the Court
20   is respectfully referred to paragraphs 2 and 4-15 of the accompanying Craig Declaration. The
21   parties are now filing dispositive motions. (Id.)
22   II.    LEGAL STANDARD
23          Although courts recognize a general right to inspect and copy public records, “access to
24   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178
25   (9th Cir. 2006). A party seeking to seal materials submitted with a motion for summary judgment
26   must demonstrate that there are compelling reasons to keep the documents under seal. See Ctr. for
27   Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101–02 (9th Cir. 2016); Fed. Deposit Ins.
28   Corp. v. Bayone Real Estate Inv. Corp., 2017 WL 1398311, at *2 (N.D. Cal. Apr. 19, 2017). It is
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 1   in the “sound discretion of the trial court” to determine what constitutes a “compelling reason.” In

 2 re Da Vinci Surgical Robot Antitrust Litig., 2024 WL 1687645, at *1 (N.D. Cal. Apr. 17, 2024).

 3           As an initial matter, courts have found compelling reasons to seal traditionally non-public

 4 government information. See Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co., 2019 WL

 5 11638962, at *2 (D. Nev. June 20, 2019). For additional authority on this topic, the Court is

 6 respectfully referred to Paragraph 13 of the Craig Declaration.

 7           More generally, “[c]ompelling reasons justifying sealing court records generally exist

 8 when such “court files might . . . become a vehicle for improper purposes” such as “releas[ing]

 9 trade secrets [] or as sources of business information that might harm a litigant’s competitive

10 standing.” Hyundai Motor, 2019 WL 11638962, at *1; see also Grace v. Apple, Inc., 2019 WL

11 12288173, at *3 (N.D. Cal. Aug. 22, 2019) (“Competitive harm and security concerns can qualify

12   as compelling reasons.”). Courts have thus found that compelling reasons exist to seal “proprietary

13   information concerning [a party’s] technology and internal business operations” and “descriptions

14   of [a party’s] proprietary technology,” Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL

15   706975, at *1 (N.D. Cal. Feb. 26, 2013), and information regarding “long-term financial

16   projections, discussions of business strategy, and competitive analyses,” Krieger v. Atheros

17   Commc’ns, Inc., No. 2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011).1 Courts have also found

18   “compelling reasons” to seal “source code directories, information about the technical operation

19   of the products, financial revenue data, and excerpts from expert depositions, expert report[s], and

20   related correspondence.” Finjan, Inc. v. Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D. Cal. Feb.

21   9, 2016). And courts have found compelling reasons to seal “customers’ personal information,

22   which includes the customers’ names, account numbers, IP addresses, email addresses, and/or

23   customer activities on certain platforms, in order to protect the customers’ privacy.” Activision

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25   1
       See In re Google Location Hist. Litig., 514 F. Supp. 3d 1147, 1162 (N.D. Cal. Jan. 25, 2021)
     (“Compelling reasons may exist to seal ‘trade secrets, marketing strategies, product development
26
     plans, detailed product-specific financial information, customer information, internal reports.’”);
27   Synchronoss Techs., Inc. v. Dropbox Inc., 2019 WL 3718566, at *1 (N.D. Cal. Aug. 7, 2019)
     (same, for “‘confidential business information’ in the form of ‘license agreements, financial terms,
28   details of confidential licensing negotiations, and business strategies’”).
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 1   Publ’g, Inc. v. Engine Owning UG, 2023 WL 2347134, at *1 (C.D. Cal. Feb. 27, 2023); see Am.

 2   Automobile Ass'n of N. Cal., Nev., & Utah, 2019 WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019).

 3   III.   ARGUMENT

 4          Compelling reasons exist to seal the Sealed Documents, which include (1) certain language

 5   in the Craig Declaration that supports this Motion to Seal; (2) certain language on pages 2, 4-13,

 6   and 15 of Defendants’ Opposition; (3) Exhibits A and B to the McGraw Declaration in Support of

 7   the Opposition; (4) portions of the Declaration of Tamir Gazneli in Support of the Opposition; and

 8   (5) certain language in paragraphs 10-11 and 14-16 of the Akro. Declaration in Support of the

 9   Opposition and Exhibits A-F, H-J, and L-O to the same.

10          First, certain of the Sealed Documents contain highly sensitive, non-public information,

11   the disclosure of which would prejudice Defendants and parties not before the Court. See, e.g.,

12   Compal Elecs., Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v.

13 Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017);

14 Strauss v. Credit Lyonnais, S.A., 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011). For additional

15 argument, NSO respectfully refers the Court to Paragraph 13 of the Craig Declaration.

16          Second, many of the Sealed Documents include information about the parties’ confidential

17 technology and other trade secrets—including the operation of both WhatsApp’s and NSO’s

18 technologies. Courts have routinely held that confidential business information satisfies the

19 “compelling reasons” standard. See In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal.

20 Nov. 8, 2017) (concluding that the parties established compelling reasons to file under seal records

21 that implicate “confidential business information” subject to confidentiality agreements); Jones v.

22   PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023). This includes technological

23   information. See Transperfect Global, 2013 WL 706975, at *1. The nature of NSO’s business

24   requires that such information be kept confidential, and NSO would suffer competitive harm if this

25   information were broadly disclosed to the public and to potential competitors. NSO’s government

26   customers would also be prejudiced by disclosure of such information. Plaintiffs have sought to

27   seal equivalent confidential information about their own business and technology.

28          The Craig Declaration Supporting This Motion. As the Craig Declaration itself makes
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 1   clear in much greater detail, it contains highly sensitive, non-public information, the disclosure of

 2   which would prejudice Defendants and other parties not before the Court.

 3          Portions of the Opposition. Defendants have indicated certain portions of the Opposition

 4   that there are compelling reasons to seal. The Opposition contains references to information that

 5   is subject to legal restrictions and confidentiality obligations. See Craig Decl. ¶¶ 2 and 4-13. The

 6   same portions of the Opposition also discuss highly confidential information about the research,

 7   development, and functioning of Defendants’ technologies, as well as confidential customer

 8   information, all of which warrants sealing to prevent substantial harm to Defendants’ business and

 9   to Defendants’ government customers. See, e.g., Finjan, 2016 WL 7429304, at *2; Transperfect ,

10   2013 WL 706975, at *1; Activision, 2023 WL 2347134, at *1; Synchronoss, 2019 WL 3718566,

11   at *1. The indicated portions of the Opposition also include references to the McGraw Exhibits,

12   the Gazneli Declaration, and the Akro. Declaration and attached exhibits, which include the

13   categories of confidential information described below.

14          Furthermore, pages 1, 7-9, 13, 15-17, and 23-25 of the Opposition contain references to

15   Exhibits A-C and L-O to the Akro. Declaration and related discussion in Akro. Declaration ¶¶ 14-

16   16 that constitute or discuss information that Plaintiffs have designated as “Highly Confidential -

17   Attorney’s Eyes Only” under the Stipulated Protective Order (Dkt. No. 132). Defendants reserve

18 the right to oppose any statement by Plaintiffs in accordance with Civil Local Rule 79-5(f)(4).

19          Exhibits to the McGraw Declaration. Exhibits A and B to the McGraw Declaration are

20 excerpts from the reports of Defendants’ technical and cybersecurity expert, Terrance McGraw.

21 These materials consist almost exclusively of information that is subject to legal restrictions and

22 confidentiality obligations. See Craig Decl. ¶¶ 2 and 4-13. These reports are also replete with

23   highly confidential technical information regarding the functioning of Defendants’ technology,

24   and expert analysis of both WhatsApp’s and NSO’s technologies, which warrants sealing. See,

25 e.g., Finjan, 2016 WL 7429304, at *2. Plaintiffs have filed under seal the reports of their technical

26 expert, David Youssef, for the same reasons.

27          These same materials also contain information about Plaintiffs’ technology and discuss

28 information that Plaintiffs have designated as “Highly Confidential - Attorney’s Eyes Only.”
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 1   Defendants reserve the right to oppose any statement by Plaintiffs in accordance with Civil Local

 2   Rule 79-5(f)(4).

 3            Portions of the Gazneli Declaration. This declaration, from the head of NSO’s research

 4   and development department, consists largely of information that is subject to legal restrictions

 5   and confidentiality obligations. See Craig Decl. ¶¶ 2 and 4-13. The declaration also primarily

 6   consists of highly confidential technical information regarding the functioning of Defendants’

 7   technology, which warrants sealing. See, e.g., Finjan, 2016 WL 7429304, at *2.

 8            The Akro. Declaration and Exhibits. Exhibits A-F, H-J, and L-O to the Akro. Declaration

 9   and related discussion in Akro. Declaration ¶¶ 10-11 and 14-16 set forth information that is subject

10   to legal restrictions and confidentiality obligations. See Craig Decl. ¶¶ 2 and 4-13. These materials

11   also contain highly confidential technical information regarding Defendants’ and Plaintiffs’

12   technologies and confidential customer information, also warranting sealing. E.g., Transperfect,

13   2013 WL 706975, at *1; Activision, 2023 WL 2347134, at *1; Synchronoss, 2019 WL 3718566,

14   at *1.

15            Exhibits A-C and L-O to the Akro. Declaration, and related discussion in Akro. Declaration

16   ¶¶ 14-16 constitute or discuss information that Plaintiffs have designated as “Highly Confidential

17   - Attorney’s Eyes Only.” Defendants reserve the right to oppose any statement by Plaintiffs in

18   accordance with Civil Local Rule 79-5(f)(4).

19                                                  *****
20            As shown above and in the Craig Declaration, compelling reasons exist to seal each of the

21   Sealed Documents. Defendants have analyzed each of the documents being filed, and for each,

22   Defendants are asking the Court to file under seal only the minimum necessary to meet their legal

23   obligations and to preserve their confidential information.

24   IV.      CONCLUSION

25            For the reasons set forth above and in the accompanying Craig Declaration, Defendants

26   request that the Court grant this Motion and order the Sealed Documents to be kept under seal.

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 1   DATED: October 11, 2024                  KING & SPALDING LLP
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